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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

DONALD J. TRUMP FOR PRESIDENT,
INC., et al.,

Plaintiffs, Civil Action No. 20-10753 (MAS) (ZNQ)

v. ORDER

TAHESHA WAY, in her official capacity as
Secretary of State of New Jersey

Defendant.

 

 

This matter comes before the Court upon Plaintiffs Donald J. Trump for President, Inc.,
Republican National Committee, and New Jersey Republican State Committee’s (collectively,
“Plaintiffs”) Motion for an Order to Show Cause (ECF No. 35). Defendant Secretary of State
Tahesha Way and Defendant-Intervenors DCCC, League of Women Voters of New Jersey, and
NAACP New Jersey Conference opposed (ECF Nos. 57, 58, 59), and Plaintiffs replied (ECF
No. 63). The Court has carefully considered the parties’ submissions, as well as the submissions
of amicus curiae, and decides the matter without oral argument pursuant to Local Civil Rule 78.1.
For the reasons set forth in the accompanying Memorandum Opinion,

IT IS on this day of October 2020 ORDERED that Plaintiffs’ Motion for an Order to

Show Cause (ECF No. 35) and request for a preliminary injunction are DENIED.

MICHAEL A.'SHIPP
UNITED STATES DISTRICT JUDGE
